          Case 1:25-cv-00333-ALC               Document 33       Filed 02/19/25     Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- x
 SVOTHI, INC.,

                              Plaintiff
                                                                   25-cv-00333 (ALC)
                        -against-
                                                                   ORDER
 DARK ALLEY MEDIA AND ROBERT
 FELT,

                            Defendants.
 --------------------------------------------------------   x
               --- JR., United States District Judge:
 ANDREW L. CARTER,

         During this afternoon's preliminary injunction hearing the Court DENIED Defendant/

 Counterclaim Plaintiff's request for preliminary injunction. Defendant's motion leave to file

 untimely its Reply papers is GRANTED. The Clerk of Court is respectfully directed to

 terminate the motion at ECF No. 31.

         In follow-up from this afternoon's premotion conference, the Court ORDERS the Parties

 to provide a joint status report on March 6, 2025 in which the Parties shall advise the Court as to

 whether the matter has been settled and, if not, whether the Parties request referral to a

 magistrate judge or court-annexed mediation. The Parties shall also advise the Court as to the

 issue of the impleader motion has been settled and, if not, the Parties shall propose a briefing

 schedule.
 SO ORDERED.

Dated:     February 19, 2025
           New York, New York

                                                                 ANDREW L. CARTER, JR.
                                                                  United States District Judge
